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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                                              Case No. 0:17-cv-62371-UU

  SCHOOL BOARD OF BROWARD COUNTY,
  FLORIDA,

              Plaintiff,
  v.

  C.B. individually and as parent of J.A.B.,
  a minor,

        Defendant.
  ____________________________________/
                                     ORDER

              THIS CAUSE comes before the Court upon Plaintiff’s Motion for Judgment on the

  Record and for Summary Judgment (the “Motion”). D.E. 17.

         THE COURT has considered the Motion, the pertinent portions of the record and is

  otherwise fully advised in the premises. For the reasons set forth below, the Motion is granted.

         I.       Factual Background 1

                  A. The Parties

         Plaintiff is a governmental entity organized under the laws of the State of Florida, operating

  public schools in Broward County, Florida (the “School Board”). D.E. 20 ¶ 5(a). Among the

  educational services provided by Plaintiff are special education services under the Individuals

  with Disabilities Education Act, 20 U.S.C. § 1400, et seq., (“IDEA”). Id. Defendant C.B. is a

  resident of Broward County, Florida and is the parent of J.A.B., a child who receives special

  education services, including weekly language therapy, from the School Board due to his autism

  and language impairment. Id. ¶ 5(b).



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      Unless otherwise indicated the facts are taken from the administrative record and the parties’ pretrial stipulation.
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               B. The IDEA

      The IDEA grants financial assistance to States that provide educational services to disabled

  children consistent with the IDEA’s standards and requirements in order to ensure that disabled

  children receive a Free and Appropriate Public Education (“FAPE”). § 1400. The IDEA requires

  that educational institutions develop an individualized education program (“IEP”), in

  collaboration with parents and school officials, that addresses each disabled student’s educational

  needs. 20 U.S.C. § 1412(a)(4), 1414(d)(4)(a). If the parents of the child or the school district

  dispute the IEP or its implementation, they can file a complaint with the relevant State

  administrative agency and obtain a due process hearing before a hearing officer or administrative

  law judge to resolve the dispute. 20 U.S.C. § 1415(f)(1)(a). In Florida, such due process hearings

  are conducted by an administrative law judge from the Florida Division of Administrative

  Hearings pursuant to a contract between the Florida Department of Education and the Florida

  Division of Administrative Hearings. Fla. Stat. 1003.57(1)(c). If the school or the parents dispute

  the outcome of the due process hearing, they may file an appeal with the appropriate state court

  or United States District Court. 20 U.S.C. § 1415(i)(2)(A). 2 A district court also has the power to

  award “reasonable attorneys’ fees” to the parent of a child with a disability who was the

  “prevailing party” at the due process hearing. 20 U.S.C. § 1415(i)(3)(B). In 2004 Congress

  reauthorized the IDEA, subject to certain changes to the IEP process.

               C. The Administrative Hearing

      On November 10, 2016, the School Board finalized an IEP reducing the amount of weekly

  language therapy J.A.B. was to receive. D.E. 20 ¶ 5(e); D.E. 1-1 ¶¶ 16-17. On November 29,


  2
   20 U.S.C. § 1415(i)(2)(A) provides that those who do not have a right to an appeal under 20 U.S.C. § 1415(g) may
  bring suit in district court. Section 1415(g) provides the appeal procedures for those states that have a two-tiered
  administrative due process system, but Florida does not have such a system and therefore Plaintiff has the right to
  bring a civil action in this Court for an appeal of the ALJ’s Order on Attorneys’ Fees. 20 U.S.C. § 1415(i)(2)(A).
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  2016, J.A.B., through his mother, C.B., filed a request for a due process hearing, which was

  forwarded to the Florida Department of Administrative Hearings for further proceedings before

  Administrative Law Judge Jessica E. Varn (the “ALJ”). D.E. 20 ¶ 5(f); J.A.B. Petitioner, v.

  School Board of Broward County, Florida, Case No. 16-7021E, State of Florida Division of

  Administrative Hearings (Administrative Law Judge Jessica E. Varn). The due process request

  alleged: (1) that the November 10, 2016, IEP was finalized without C.B., and the classroom

  teacher being present at the IEP meeting, (2) that the IEP overstated J.A.B.’s need for intensive

  instruction in an Exceptional Student Education classroom and therefore denied J.A.B. a FAPE

  under the IDEA, and (3) that J.A.B. had been removed from the Florida State Standards

  Curriculum without his mother’s consent. D.E. 1-1 at 2. The School Board responded to the

  complaint and admitted that the IEP meeting had been convened without C.B. being present.

  D.E. 1-1 at 7-8. On April 18, 2017, the ALJ issued an Amended Final Order, finding that the IEP

  was prepared and implemented without parental input in violation of the IDEA, that J.A.B. was

  entitled to 30 minutes of weekly language services as compensation, and that J.A.B. was entitled

  to attorney’s fees and costs under Florida Administrative Code Rule 6A-6.03311(9)(x). D.E. 1-1

  at 18. The ALJ dismissed all of J.A.B.’s remaining claims. Id.

     The parties were unable to agree on the amount of attorneys’ fees to be awarded and

  consequently, C.B. filed a motion for attorney’s fees and costs before the ALJ on June 1, 2017.

  D.E. 22-1. The School Board responded to the motion on June 12, 2017, arguing that the ALJ

  had no authority to award attorney’s fees. D.E. 22-2. In the alternative, the School Board argued

  that J.A.B. should not have been awarded attorney’s fees because J.A.B. had not been the

  “prevailing party” at the due process hearing, and the relief finally awarded to J.A.B. was less

  than Plaintiff’s previous settlement offer. D.E. 1-2 at 2. Both parties agreed that no further


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  evidence was required to resolve this dispute. Id. On September 7, 2017, the ALJ issued a

  decision finding that she had jurisdiction to award attorneys’ fees and she awarded J.A.B.

  attorneys’ fees in the amount of $16,706.00 and costs in the amount of $3,629.95 (the “Order on

  Attorneys’ Fees”). D.E. 1-2. On December 4, 2017, Plaintiff filed this action appealing the ALJ’s

  Order on Attorneys’ Fees pursuant to 20 U.S.C. § 1415(i)(2). D.E. 1.

     II.     Procedural Background

     On December 4, 2017, the School Board filed its complaint against Defendant, appealing the

  ALJ’s Order on Attorneys’ Fees. On January 4, 2018, Defendant filed its Answer, Affirmative

  Defenses and Counterclaims, D.E. 6. Defendant’s Affirmative Defenses are failure to state a

  claim, lack of subject-matter jurisdiction, and waiver. Id. Defendant’s counterclaims include: a

  demand that the Court enforce the ALJ’s Order on Attorneys’ Fees (Count One), a separate

  judgment against Plaintiff for attorney’s fees and costs (Count Two), violations of 42 U.S.C. §

  1983 (Count Three), violations of Title II of the Americans with Disabilities Act, 42 U.S.C. §§

  12131-12165 (the “ADA”) (Count Four), and violations of Section 504 of the Rehabilitation Act

  29 U.S.C. § 706 (Count Five). D.E. 6. Plaintiff answered Defendant’s counterclaim on January

  22, 2018. D.E. 7.

     On February 9, 2018, the Court entered its Scheduling Order for Pretrial Conference and

  Trial, setting a dispositive motion deadline of June 1, 2018. D.E. 9. On the deadline, Plaintiff

  filed its Motion for Judgment on the Record and Motion for Summary Judgment (the “Motion”).

  D.E. 17. In the Motion, Plaintiff argues that it is entitled to a judgment on the record as to its

  claim that the ALJ lacked jurisdiction to award Defendant fees under the IDEA and Florida law.

  D.E. 17. The Motion also argues that Plaintiff is entitled to judgment in its favor on each of




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  Defendant’s counterclaims and affirmative defenses. Id. The Motion is fully briefed and ready

  for disposition.

     III.    Legal Standard

      “A Motion for Judgment on the Record, in the context of the IDEA, is a request that the

  Court enter a final judgment in what is essentially ‘a bench trial on a stipulated record.’” Slama

  ex rel. Slama v. Indep. Sch. Dist. No. 2580, 259 F. Supp. 2d 880, 882 (D. Minn. 2003) (quoting

  Ojai Unified Sch. Dist. v. Jackson, 4 F.3d 1467, 1472 (9th Cir.1993), cert. denied, 513 U.S. 825,

  (1994). Under this form of review, the usual Rule 56 summary judgment principles are

  inapplicable and the Court may make decisions on the merits based on a preponderance of the

  evidence even in the face of disputed issues of material fact. Loren F. ex rel. Fisher v. Atlanta

  Indep. Sch. Sys., 349 F.3d 1309, 1313 (11th Cir. 2003) (“[S]ummary judgment [in IDEA cases]

  has been deemed appropriate even when facts are in dispute, and is based on a preponderance of

  the evidence.”).

     “In a judicial proceeding under the IDEA, a reviewing court is required to conduct a

  modified de novo review, giving ‘due weight’ to the underlying administrative proceedings.”

  M.L. v. Fed. Way Sch. Dist., 341 F.3d 1052, 1061 (9th Cir.), opinion withdrawn, 351 F.3d 957

  (9th Cir. 2003) (citing Bd. of Educ. of Hendrick Hudson Cent. Sch. Dist., Westchester County v.

  Rowley, 458 U.S. 176, 206 (1982)). The Court “[m]ust be careful not to substitute its judgment

  for that of the state educational authorities.” Walker Cnty. Sch. Dist. v. Bennett, 203 F.3d 1293,

  1297 (11th Cir.2000).

     Although district courts must afford judicial deference to the local administrative agency

  judgment, such deference is “[t]ypically limited to matters calling upon educational expertise.”

  Loren, 349 F.3d at 1314 n.5 (citation omitted). “But the ALJ is not entitled to blind deference.


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  The District Court is free to accept the ALJ's conclusions that are supported by the record and

  reject those that are not … At the same time, when the District Court rejects the ALJ's

  conclusions, it is obliged to explain why.” R.L. v. Miami-Dade Cty. Sch. Bd., 757 F.3d 1173,

  1178 (11th Cir. 2014) (internal quotations and quotation marks omitted). “Where the district

  court does not receive any additional evidence or testimony, this court stands in the same shoes

  as the district court in reviewing the administrative record and may, therefore, accept the

  conclusions of the ALJ and district court that are supported by the record and reject those that are

  not.” Loren, 349 F.3d at 1314 (quotation and internal quotation marks omitted).

     IV.     Analysis

             A. Plaintiff’s Claims

     Plaintiff argues that it is entitled to judgment on the record on its claim that the ALJ lacked

  jurisdiction to award Defendant attorneys’ fees under the IDEA and Florida law. D.E. 17. This is

  a pure question of law that the Court considers de novo. Harris v. D.C., 561 F. Supp. 2d 63, 67

  (D.D.C. 2008) (“When review of an administrative decision under the IDEA focuses solely on

  statutory interpretation, such an inquiry is a pure question of law that courts review de novo.”)

  (quotation and internal quotation marks omitted). Plaintiff also argues that it is entitled to

  judgment on each of Defendant’s counterclaims. D.E. 17. Neither party has provided any

  evidence beyond the administrative record and, because this is an IDEA appeal, the usual

  burden-shifting analysis of Rule 56 is not applicable. Heather S. v. State of Wis., 125 F.3d 1045,

  1052 (7th Cir. 1997) (explaining that in an IDEA case “[w]hen neither party has requested that

  the district court hear additional evidence … there is nothing new presented only to the district

  court; thus [t]he motion for summary judgment is simply the procedural vehicle for asking the

  judge to decide the case on the basis of the administrative record.”) (citation omitted) (emphasis


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  added); Loren, 349 F.3d at 1313 (“[t]he usual F.R. Civ. P. 56 summary judgment principles do

  not apply in an IDEA case.”). Thus, the only issues for the Court to decide are whether the ALJ

  had jurisdiction to award attorneys’ fees as a matter of law and whether Plaintiff is entitled to

  judgment on Defendant’s counterclaims based on the administrative record. Id.; Cobb Cty. Sch.

  Dist. v. A.V. ex rel. W.V., 961 F. Supp. 2d 1252, 1256 (N.D. Ga. 2013) (construing motions

  labelled as motions for summary judgment as motions for judgment on the record in IDEA case).

              B. ALJ’s Authority to Award Attorneys’ Fees

           Plaintiff argues that the ALJ erred in finding that she had authority to award attorneys’

  fees because only a United States District Court or a Florida State Court “[h]as the jurisdiction

  and authority to award attorney’s fees under the IDEA, applicable Florida Statutes, and the

  Florida Administrative Code.” D.E. 17 at 4. The Court will begin by reviewing the ALJ’s Order

  on Attorneys’ Fees and then Defendant’s arguments in support of the ALJ’s determination. D.E.

  1-2. 3

                   1. ALJ’s Authority to Award Attorneys’ Fees Under the IDEA

           The ALJ found that the IDEA itself did not confer authority on ALJs to award attorneys’

  fees. D.E. 1-2. Indeed, the law is clear that under the IDEA, only courts may award attorney’s

  fees. 20 U.S.C. § 1415(i)(3)(B)(i) (“[I]n any action or proceeding brought under this section, the

  court, in its discretion, may award reasonable attorneys’ fees as part of the costs….”) (emphasis

  added); Arlington Cent. Sch. Dist. Bd. of Educ. v. Murphy, 548 U.S. 291, 291 (2006) (explaining

  that 20 U.S.C. § 1415(i)(3)(B) “permits a court to award reasonable attorneys' fees as part of the

  costs to prevailing parents.”) (emphasis added); El Paso Indep. Sch. Dist. v. Richard R., 591 F.3d

  417, 422 n.4 (5th Cir. 2009) (“An administrative hearing officer's order provides the requisite

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   With a few exceptions, Defendant’s arguments largely expand on the ALJ’s arguments in her Order on Attorneys’
  Fees. Compare D.E. 1-2 with D.E. 22.

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  ‘judicial imprimatur’ for a party to be considered a ‘prevailing party’ for attorney's fee purposes,

  despite the fact that the administrative hearing officer does not have the authority to award

  attorney's fees [under the IDEA].”); Meridian Joint Sch. Dist. No. 2 v. D.A., 792 F.3d 1054, 1064

  (9th Cir. 2015) (“The fact that the hearing officer may not award attorneys' fees weighs in favor

  of holding that a request for attorneys' fees filed in the district court is not ancillary to the judicial

  review of the administrative decision.”); Zipperer By & Through Zipperer v. Sch. Bd. of

  Seminole Cty., Fla., 111 F.3d 847, 851 (11th Cir. 1997) (“[t]he district court, rather than the

  administrative agency, has jurisdiction to award fees….”).

           However, the ALJ found that the IDEA permits States to authorize ALJs to award

  attorneys’ fees as a matter of State law. D.E. 1-2. In support, the ALJ pointed to the discussion in

  the Federal Register of the final regulations that originally implemented the IDEA:

           “Based upon the absence of consensus, the Department will continue to allow maximum
           flexibility to States for structuring the process by which parents who are prevailing
           parties under Part B of the Act may request attorneys’ fees reimbursement … States
           could choose as a matter of State law to permit hearing officers to award attorneys’ fees
           to parents who are prevailing parties under Part B of the Act, and not to require that they
           do so, or imply that IDEA would be the source of the authority for granting hearing
           officers that role. If a State allows hearing officer’s to award attorney’s fees,
           requirements regarding training on attorneys fees would be a State matter.”
           D.E. 1-2 (quoting 64 Fed. Reg. 12615 (March 12, 1999)) (emphasis added).

  Plaintiff argues that this explanation in the Federal Register is not law and therefore cannot be a

  source of authority for the proposition that the IDEA allows States to permit ALJs to award

  attorneys’ fees. D.E. 17 at 6. Defendant does not address this point, but Plaintiff is correct; the

  cited text in the Federal Register is merely a summary of comments and discussions on the

  attorneys’ fees regulations in the IDEA that occurred prior to the issuance of the final

  regulations. See 64 Fed. Reg. 12615 (March 12, 1999). 4


  4
   Moreover, as Plaintiff rightly notes, the ALJ selectively quoted the Federal Register and the full cited text actually
  discusses a proposed note authorizing States to permit ALJs to award attorneys’ fees, which was not included in the
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           While the Federal Register is not law, Defendant argues that the IDEA does not expressly

  prohibit ALJs from awarding attorneys’ fees. D.E. 22 at 7. In addition, Defendant argues that

  States “can expand upon what is provided in the IDEA as long as its actions are not prohibited

  by, or in conflict with federal law,” D.E. 22 at 2, and the ALJ found that Florida expanded upon

  the IDEA to enable ALJs to award attorneys’ fees as a matter of Florida State law. See U.S.

  Const., Amdt. 10 (“The powers not delegated to the United States by the Constitution, nor

  prohibited by it to the States, are reserved to the States respectively, or to the people.”).

  However, the Court need not resolve whether the IDEA generally allows States to authorize

  ALJs to make fee awards because the Florida regulation from which the ALJ sourced her

  authority plainly does not permit her to award such fees. 5

                    2. ALJ’s Authority to Award Attorneys’ Fees Under Florida Law

           The ALJ found that in Rule 6A-6.03311(9)(x) of the Florida Administrative Code,

  Florida granted ALJs the authority to award attorneys’ fees. D.E. 1-2 (citing Fla. Admin. Code

  Ann. r. 6A-6.03311). Specifically, the ALJ found that references to “due process hearing” and

  “the Court or ALJ” in Rule 6A-6.03311(9)(x) indicated that the Florida Department of Education

  authorized ALJs to award attorneys’ fees in due process hearings:


  Notice of Proposed Rulemaking or in the final United States Department of Education regulation on attorneys’ fees
  under the IDEA. D.E. 17; 34 C.F.R. 300.517.
  5
    Plaintiff relies on A.L. ex rel. P.L.B. v. Jackson Cty. Sch. Bd., 127 So. 3d 758, 759 (Fla. Dist. Ct. App. 2013) and
  Friends of Nassau Cty, Inc., v. Nassau Cty., 752 So.2d 42, 53 at N.13 (Fla. 1st DCA 2000), to argue that under
  Florida law, in the absence of contractual or statutory authority, ALJs do not have the authority to award attorneys’
  fees. D.E. 17. However, as Defendant rightly notes, these cases do not support its argument. D.E. 22 at 6-9. A.L.,
  127 So. 3d 758 merely held that an ALJ could not award attorneys’ fees in an IDEA case under Fla. Stat. 57.105(5).
  The ALJ in this case awarded fees under Rule 6A-6.03311(9)(x). Friends of Nassau Cty, Inc., 752 So.2d 42, 53
  states that an administrative law judge’s award of attorneys’ fees must be based in contractual or statutory authority,
  but as Defendant rightly points out, Fla. Stat. 1003.57(1)(c) states that due process hearings are conducted by ALJs
  “pursuant to a contract between the Department of Education and the Division of Administrative Hearings.”
  Moreover, Friends of Nassau Cty involved a matter under Fla. Stat. 120.57, and A.L. specifically held that IDEA due
  process hearings were not “administrative proceedings under chapter 120.” A.L., 127 So. 3d 758.


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         “(x) Attorneys’ Fees.
         1. In any due process hearing or subsequent judicial proceeding brought under this rule,
         the court, in its discretion, may award reasonable attorneys’ fees as part of the costs to:
         a. The prevailing party who is the parent of a student with a disability …

         3. Award of fees. A court awards reasonable attorneys’ fees under this paragraph
         consistent with the following …

         b. Attorneys’ fees may not be awarded and related costs may not be reimbursed in any
         due process hearing or judicial proceeding for services performed subsequent to the
         time of a written offer of settlement to a parent if the offer is made within the time
         prescribed by Rule 68 of the Federal Rules of Civil Procedure or, in the case of a due
         process hearing, at any time more than ten (10) days before the hearing begins; the offer
         is not accepted within ten (10) days; and the court or ALJ finds that the relief finally
         obtained by the parents is not more favorable to the parents than the offer of settlement.
         An award of attorneys’ fees and related costs may be made, however, to a parent who is
         the prevailing party and was substantially justified in rejecting the settlement offer.”
         D.E. 1-2 at 4-5 (quoting Fla. Admin. Code Ann. r. 6A-6.033119(x) (2014) (emphasis
         added).

  Neither the ALJ nor Defendant explicitly states why this highlighted language compels the

  conclusion that ALJs have the authority to award attorney’s fees. See D.E. 1-2; D.E. 22.

  However, the Court construes the argument to be that because ALJs hold due process hearings

  under Florida law and the IDEA, the references to attorneys’ fees awarded “in any due process

  hearing” in Rule 6A-6.03311 means that ALJs must be able to award attorneys’ fees. See 34

  C.F.R. § 300.511; Fla. Admin. Code Ann. r. 6A-6.033119.

         “The intention and meaning of the Legislature must primarily be determined from the

  language of the statute itself and not from conjectures aliunde. When the language of the statute

  is clear and unambiguous and conveys a clear and definite meaning, there is no occasion for

  resorting to the rules of statutory interpretation and construction; the statute must be given its

  plain and obvious meaning.” A.R. Douglass, Inc., v. McRainey, 102 Fla. 1141, 1144 (1931)

  (citation omitted); Daniels v. Fla. Dep't of Health, 898 So. 2d 61, 65 (Fla. 2005) (“Because

  statutes providing for attorney's fees are in abrogation of the common law, such statutes are to be


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  strictly construed.”); State v. Gaulden, 134 So. 3d 981, 983 (Fla. Dist. Ct. App. 2012) (“Courts

  should … explore legislative history only when the statutory language is unclear.”).

           Plaintiff argues that although Rule 6A-6.03311(9)(x) references due process hearings, the

  plain language of Rule 6A-6.03311(9)(x) provides that “the court, in its discretion, may award

  reasonable attorneys’ fees…” id. (emphasis added). This Court agrees with Plaintiff; the Rule

  expressly grants courts the authority to award attorneys’ fees, not ALJs. Cf. Snell v. Mott’s

  Contracting Services, Inc., 141 So. 3d 605, 609 (Fla. 2nd DCA 2014) (holding that arbitrator

  could not award attorneys’ fees under Florida Statute 713.29 because it only permitted courts to

  award fees). 6 Moreover, under Florida law “[i]t is axiomatic that all parts of a statute must be

  read together in order to achieve a consistent whole.” Forsythe v. Longboat Key Beach Erosion

  Control Dist., 604 So. 2d 452, 455 (Fla. 1992). The subsections of Rule 6A-6.03311(9)(x)

  discuss the procedures that the court must follow and the criteria that the court must consider in

  awarding attorneys’ fees; there is no reference to ALJs. For example, Section 3: “Award of Fees”

  discusses how courts should calculate attorneys’ fees:

      “3. Award of fees. A court awards reasonable attorneys’ fees under this paragraph consistent
      with the following … Fees awarded must be based on rates prevailing in the community….”
      Fla. Admin. Code Ann. r. 6A-6.033119(x)(3) (emphasis added)

  Similarly, Section 4 discusses situations in which the court must reduce attorneys’ fees:

      “4. Except as provided in paragraph (e) of this subsection, the court reduces, accordingly,
      the amount of the attorneys’ fees awarded, if the court finds that … The parent, or the
      parent’s attorney, during the course of the action or proceeding, unreasonably protracted the
      final resolution of the controversy …

      e. The provisions of subsection (4) of this subsection do not apply in any action or
      proceeding if the court finds that the Department of Education or the school district
      unreasonably protracted the final resolution of the action or proceeding….”

  6
    Defendant attempts to distinguish this case by arguing that the Florida Statutes at issue in Snell distinguished
  arbitration and court, but “there is no similar distinction found within F.A.C. 6A-6.03311.” D.E. 22 at 8. However,
  that distinction formed only one part of the court’s argument. Much like this Court, the Snell court relied on the
  plain meaning of the statutes and of “court” to find that the statute did not permit arbitrators to award attorneys’ fees.
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     Fla. Admin. Code Ann. r. 6A-6.033119(x)(4) (emphasis added).

  None of these sections contemplates that the ALJ will award fees or reduce an attorneys’ fees

  award.

           The ALJ also emphasized the reference to “the Court or ALJ” in Rule 6A-

  6.033119(x)(3)(b) to support the contention that ALJs have authority to award attorneys’ fees in

  due process hearings:

           “b. Attorneys’ fees may not be awarded and related costs may not be reimbursed in any
           due process hearing or judicial proceeding for services performed subsequent to the
           time of a written offer of settlement to a parent if … the court or ALJ finds that the
           relief finally obtained by the parents is not more favorable to the parents than the offer of
           settlement….”
           Fla. Admin. Code Ann. r. 6A-6.033119(x) (emphasis added).

  Plaintiff argues that the reference to the “Court or ALJ” merely permits the ALJ to determine if,

  following an offer of settlement, the relief finally awarded at the due process hearing was more

  favorable to the parents than the offer of settlement. D.E. 17. The Court agrees with Plaintiff.

  The plain language of the rule merely permits an ALJ or a court to determine if the relief finally

  obtained by the parents is more or less favorable than the offer of settlement; it does not extend

  the ALJ’s authority to award attorneys’ fees. Thus, the ALJ erred in finding that Rule 6A-

  6.033119(x) granted her the authority to award attorneys’ fees because its plain language grants

  the authority to award and reduce attorneys’ fees to the courts, not ALJs.

           Although Rule 6A-6.033119(x) clearly states that only courts may award attorneys’ fees,

  it is not clear why Rule 6A-6.033119(x) states that courts may award reasonable attorneys’ fees

  “in any due process hearing,” because as Defendant rightly notes, under the IDEA and Fla. Stat.

  1003.57(1)(c), ALJs, not courts, perform due process hearings. See 34 C.F.R. 303.433; Rule 6A-

  6.03311(9). Thus, a brief inquiry into the rule’s legislative history is warranted to clarify the

  meaning of “due process hearings” in the Rule. Gaulden, 134 So. 3d 981, 983.
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         The ALJ further found that the references to “due process hearing” in Rule 6A-

  6.03311(9)(x) were inserted in a 2008 amendment to the rule by the Florida Department of

  Education to expand an ALJ’s jurisdiction to award fees in IDEA cases. D.E. 1-2 at 4-6. The

  previous version of the rule, in effect from September 20, 2004, through December 21, 2008,

  stated as follows:

          “(a) A district court of the United States or a state circuit court may award reasonable
         attorney's fees as part of the costs to the parents of a child with disabilities who is a
         prevailing party in a due process hearing or in a subsequent judicial proceeding.”
         Fla. Admin. Code Ann. r. 6A-6.03311 (2004) (emphasis added)

  The 2008 version of the rule, which is consistent with the current iteration, provided:

         “(x) Attorneys’ Fees.
         1. In any due process hearing or subsequent judicial proceeding brought under this rule,
         the court, in its discretion, may award reasonable attorneys’ fees as part of the costs to…”
         Fla. Admin. Code Ann. r. 6A-6.033119(x) (2008).

  Defendant attempts to bolster the ALJ’s conclusion in this regard by arguing that the Notice of

  Proposed Rule, in the Florida Administrative Register, which described the purpose of the

  amendment, indicated that the Florida Department of Education amended the language to grant

  ALJs more discretion in conducting hearings, including the making of fee awards:

         “PURPOSE AND EFFECT: The purpose of the proposed amendments are to align
         Florida’s administrative rules related to the provision of services to students with
         disabilities with the 2004 reauthorization of the Individuals with Disabilities Education
         Act (IDEA) and its implementing regulations … Rule 6A-6.03311, F.A.C., is proposed
         for amendment to align the requirements related to procedural safeguards and due process
         procedures for parents and students with disabilities with the requirements under IDEA
         and its implementing regulations. Specific details regarding pre-hearing and hearing
         procedures are proposed for deletion as they are not federal requirements and in order to
         provide more discretion to administrative law judges (ALJs) regarding how hearings
         are conducted while maintaining the minimum federal requirements.
         Vol. 34, No. 21, Fla. Admin. Weekly, 2712 (May 23, 2008) (emphasis added).

  To be sure, the Notice of Proposed Rule sought to “provide more discretion to [ALJs] regarding

  how hearings are conducted, while maintaining minimum federal requirements” Id. (emphasis


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  added). But, providing more discretion to ALJs on how they conduct hearings does notexpressly

  or implicitly confer on ALJs the right to award attorneys’ fees. Instead, the Notice of Proposed

  Rule makes clear that the overarching purpose of the amendments was to align Florida’s

  administrative rules with the 2004 reauthorization of the IDEA, which does not permit ALJs to

  award attorney’s fees:

         “PURPOSE AND EFFECT: The purpose of the proposed amendments are to align
         Florida’s administrative rules related to the provision of services to students with
         disabilities with the 2004 reauthorization of the Individuals with Disabilities
         Education Act (IDEA) and its implementing regulations …

         Rule 6A-6.03311, F.A.C., is proposed for amendment to align the requirements related
         to procedural safeguards and due process procedures for parents and students with
         disabilities with the requirements under IDEA and its implementing regulations.
         Specific details regarding pre-hearing and hearing procedures are proposed for
         deletion as they are not federal requirements and in order to provide more discretion
         to administrative law judges (ALJs) regarding how hearings are conducted while
         maintaining the minimum federal requirements.”
         Id. (emphasis added).

  As Plaintiff rightly notes, the amended Rule 6A-6.03311(x) is an almost verbatim copy of the

  IDEA’s regulations on attorneys’ fees in the CFR. Compare Fla. Admin. Code Ann. r. 6A-

  6.033119(x) (2008), with 34. C.F.R. § 300.517. The phrase “[i]n any due process hearing or

  subsequent judicial proceeding,” in Rule 6A-6.033119(x) is a reference to the phrase “any action

  or proceeding under section 615(i)(3) of the Act” in the CFR because the actions and

  proceedings under Section 615 of the IDEA (codified at 20 U.S.C. § 1415) include due process

  hearings and appeals to courts. See 20 U.S.C. § 1415; Compare Fla. Admin. Code Ann. r. 6A-

  6.033119(x)(3)(b) (“Attorneys’ fees may not be awarded and related costs may not be

  reimbursed in any due process hearing or judicial proceeding for services performed subsequent

  to the time of a written offer of settlement….”) (emphasis added), with 34 C.F.R. §

  300.517(b)(c)(2)(i) (“Attorneys' fees may not be awarded and related costs may not be


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  reimbursed in any action or proceeding under section 615 of the Act for services performed

  subsequent to the time of a written offer of settlement….”) (emphasis added). Thus, the 2008

  amendment to Rule 6A-6.03311(x) from “A district court of the United States or a state circuit

  court may award reasonable attorney's fees” to “In any due process hearing or subsequent

  judicial proceeding brought under this rule, the court, in its discretion, may award reasonable

  attorneys’ fees” merely reflects an alignment of Florida’s administrative rules with the 2004

  reauthorization of the IDEA, which does not permit ALJs to award attorneys’ fees.

         In sum, the ALJ lacked jurisdiction to award attorneys’ fees because the plain language

  of Florida Administrative Code Rule 6A-6.03311(x) only permits courts to award attorneys’ fees

  and the legislative history of the 2008 amendment to Rule 6A-6.03311 makes clear that the

  reference to “due process hearings” is merely a reference to “proceedings under section 615 of

  the Act” in the IDEA.

                 A. Defendant’s Affirmative Defenses

         Defendant’s Answer contains four affirmative defenses: (1) failure to state a claim under

  Rule 12(b)(6) because the complaint does not identify a cause of action; (2); failure to state a

  claim under Rule 12(b)(6) because the ALJ had jurisdiction to award fees; (3) lack of subject

  matter jurisdiction because Plaintiff’s appeal was not timely; and (4) Plaintiff waived its right to

  contest the amount of fees because it never raised those issues in the due process hearing. D.E. 6.

  None of these defenses preclude judgment in Plaintiff’s favor on its claim that the ALJ lacked

  jurisdiction to award fees. D.E. 17.

                       1. Defendant’s First and Second Affirmative Defenses

         Defendant’s First and Second Affirmative Defenses argue that Plaintiff failed to state a

  claim because it failed to identify a cause of action and because the ALJ had jurisdiction to


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  award fees, respectively. D.E. 6. These are not affirmative defenses because they merely point

  out alleged defects in Plaintiff’s complaint. Tomason v. Stanley, 297 F.R.D. 541, 546 (S.D. Ga.

  2014) (holding that failure to state a claim is not an affirmative defense because “it is a defect in

  the plaintiff's claim; it is not an additional set of facts that bars recovery notwithstanding the

  plaintiffs valid prima facie case.”) (citation omitted). Moreover, Defendant’s Second Affirmative

  Defense merely parrots Defendant’s argument in its response in opposition to Plaintiff’s Motion

  and the Court has already held that the ALJ lacked authority to award attorneys’ fees. Therefore

  judgment is granted in favor of Plaintiff as to Defendant’s First and Second Affirmative

  Defense.

                          2. Defendant’s Third Affirmative Defense

          Defendant’s Third Affirmative Defense argues that Plaintiff’s complaint is not timely.

  D.E. 6. Specifically, Defendant argues that the IDEA imposes a 90-day statute of limitations for

  appeals of due process hearings and Plaintiff brought suit on December 4, 2017, D.E. 1, more

  than 90-days after the ALJ issued her Amended Final Order on April 18, 2017. D.E. 6 (citing 20

  U.S.C. § 1415(i)(2)(B)). However, as Plaintiff rightly notes, the final decision on attorneys’ fees

  was not entered until September 7, 2017, D.E. 1-2, and Plaintiff brought its complaint

  challenging that motion on December 4, 2017, well within the 90-day statute of limitations under

  the IDEA. 20 U.S.C. § 1415(i)(2)(B); see also Jenkins v. Butts Cty. Sch. Dist., 984 F. Supp. 2d

  1368, 1374 (M.D. Ga. 2013) (finding that 90-day appeal window began running from date of the

  order that made a final determination on the merits of the claim not on the motion for

  reconsideration). Moreover, Defendant appears to have abandoned or waived this affirmative

  defense. D.E. 6. 7 Although this defense was raised in its Answer and Affirmative Defenses, in


  7
    Defendant correctly notes that Plaintiff cannot appeal any substantive issues in the ALJ’s Amended Final Order, as
  it did not timely appeal those issues to this court.
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  Defendant’s response to Plaintiff’s Motion, Defendant states: “[t]he District in its motion argues

  that they have timely filed this appeal. The Defendant agrees that the issue regarding the ALJ’s

  authority to award fees in an administrative hearing is properly before this Court.” D.E. 22 at 13;

  Wall Twp. Bd. of Educ. v. C.M., 534 F. Supp. 2d 487, 493 (D.N.J. 2008) (“Congress intended for

  Section 1415(i)(2)(B) to be treated as a statute of limitations subject to waiver, estoppel, and

  equitable tolling.”); Guevara v. Republica Del Peru, No. 04-23223-CIV, 2008 WL 11333432, at

  *6 (S.D. Fla. Nov. 7, 2008) (finding affirmative defenses abandoned where they were not raised

  in opposition to motion for summary judgment); United States v. Kafleur, 168 F. App'x 322, 327

  (11th Cir. 2006) (finding defendant’s affirmative defenses abandoned where they were pled in

  answer but not mentioned in motion for summary judgment or in opposition to plaintiff’s motion

  for summary judgment). 8 Accordingly, the Court will treat this defense as abandoned or waived.

                          3. Defendant’s Fourth Affirmative Defense

           Defendant’s Fourth Affirmative Defense argues that Plaintiff has waived any right to

  appeal the specific amount of fees and costs awarded by the ALJ because Plaintiff did not raise

  those issues in the due process hearing. D.E. 6. However, Plaintiff’s Motion only makes this

  motion in the alternative if the Court finds that the ALJ had authority to award fees. D.E. 17 at 8

  (“Should the Court find that the ALJ had jurisdiction to award attorney’s fees, which it should




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    Moreover, as Plaintiff rightly notes, the final decision on attorneys’ fees was not entered until September 7, 2017,
  D.E. 1-2, and Plaintiff brought its complaint challenging that motion on December 4, 2017, well within the 90-day
  statute of limitations under the IDEA. 20 U.S.C. § 1415(i)(2)(B); see also Jenkins v. Butts Cty. Sch. Dist., 984 F.
  Supp. 2d 1368, 1374 (M.D. Ga. 2013) (finding that 90-day appeal window began running from date of the order that
  made a final determination on the merits of the claim not on the motion for reconsideration).

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  not, the award of fees should be reduced….”). As the Court has found that the ALJ did not have

  jurisdiction to award fees, this defense is not applicable. 9

           Thus, Plaintiff is entitled to judgment on each of Defendant’s affirmative defenses to the

  extent they are applicable and not waived.

                    B. Defendant’s Counterclaims

           Plaintiff also argues it is entitled to judgment on each of Defendant’s counterclaims.

  Defendant brings five counterclaims against Plaintiff: (1) a demand that the Court enforce the

  ALJ’s Order on Attorneys’ Fees (Count One); (2) a separate request for attorneys’ fees pursuant

  to, inter alia, 20 U.S.C.§ 1415(i)(2)(B) (Count Two); (3) claims that Plaintiff violated 42 U.S.C.

  § 1983 (Count Three), Title II the ADA (Count Four), and Section 504 of the Rehabilitation Act

  (Count Five) by failing to hold IEP meetings at a mutually convenient date and time and failing

  to develop an IEP with the input of the parent. D.E. 6. As discussed supra, neither party has

  presented any evidence outside of the administrative record and thus the Court must decide these

  counterclaims on the basis of the administrative record. Heather S., 125 F.3d at 1052.

                    3. Defendant’s First Counterclaim

           Defendant’s first counterclaim requests that the Court enforce the ALJ’s Order on

  Attorneys’ Fees. D.E. 6. Plaintiff argues that the ALJ’s Order on Attorneys’ Fees should not be

  enforced because the ALJ lacked jurisdiction to entire such an order. D.E. 17. As the Court has

  determined that the ALJ lacked authority to enter an award of attorneys’ fees, judgment is

  entered in favor of Plaintiff on this count. Cf. Indep. Sch. Dist. No. 283 v. S.D. by J.D., 88 F.3d

  556, 562 (8th Cir. 1996) (explaining that when an “administrative decision … is upheld on



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   For the same reason, the Court does not discuss Plaintiff’s contention that the ALJ’s award of fees was too high
  and Defendant’s argument that Plaintiff raised this issue for the first time in its motion for judgment on the record.
  D.E. 17; D.E. 22.
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  judicial review under IDEA, principles of issue and claim preclusion may properly be applied to

  short-circuit redundant claims under other laws.”).

                 4. Defendant’s Second Counterclaim

         Defendant’s second counterclaim argues that Defendant is entitled to attorney’s fees as

  the prevailing party at the due process hearing and requests that the Court award Defendant

  attorneys’ fees pursuant to, inter alia, 20 U.S.C.§ 1415(i)(2)(B). Plaintiff argues that Defendant

  may not request attorneys’ fees in a pleading, but instead must make a separate motion for

  attorneys’ fees under the IDEA. D.E. 17 at 12. “The correct procedural method for obtaining an

  award of fees and costs [under the IDEA] is to file a motion, not a claim within a pleading.”

  DeKalb Cty. Sch. Dist. v. J.W.M., 445 F. Supp. 2d 1371, 1379 (N.D. Ga. 2006); Fed. R. Civ. P.

  54(d)(2) (“A claim for attorney's fees and related nontaxable expenses must be made by motion

  unless the substantive law requires those fees to be proved at trial as an element of damages.”);

  Fulton Cty. Sch. Dist. v. S.C. by & through E.C., No. 1:07-CV-01907-MHS, 2008 WL

  11417083, at *5 (N.D. Ga. Apr. 30, 2008). As Defendant has not filed a motion for attorneys’

  fees, judgment in favor of Plaintiff is granted on this counterclaim. Nevertheless, if Defendant so

  desires, it is entitled to file a motion for attorney’s fees under the IDEA. 20 U.S.C.

  §1415(i)(3)(B).

                 5. Defendant’s Third, Fourth and Fifth Counterclaims

         All three of Defendant’s remaining counterclaims for violations of 42 U.S.C. § 1983

  (Count Three), Title II of the ADA (Count Four), and Section 504 of the Rehabilitation Act

  (Count Five) are based on Plaintiff’s failure to hold IEP meetings at a mutually convenient date

  and time and failing to develop an IEP with the input of C.B. D.E. 6. Plaintiff argues it is entitled

  to judgment on these counterclaims as a matter of law because Defendant failed to exhaust the


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  administrative remedies for these counterclaims as required by the IDEA, Defendant’s

  counterclaims are untimely, and Defendant’s ADA and Section 504 claims fail for factual

  reasons. D.E. 26. Because the Court finds that Defendant failed to exhaust her administrative

  remedies as to these claims, the Court does not reach Plaintiff’s other arguments.

                 a. Exhaustion

         The exhaustion of administrative review procedures is a prerequisite to commencing

  litigation under the IDEA. See 20 U.S.C. § 1415(b)(6); M.T.V. v. DeKalb Cty. Sch. Dist., 446

  F.3d 1153, 1158 (11th Cir. 2006) (“[w]hether claims asserting the rights of disabled children are

  brought pursuant to the IDEA, the ADA, Section 504, or the Constitution, they must first be

  exhausted in state administrative proceedings.”). Specifically, the Supreme Court has explained

  that if a claim seeks relief for the denial of a “free appropriate public education” (“FAPE”) under

  the IDEA, even if it is brought under another law or statute (such as the ADA), then the party

  must bring that claim through the IDEA’s administrative process before filing suit in a court. Fry

  v. Napoleon Cmty. Sch., 137 S. Ct. 743, 754 (2017). “The rationale is clear: plaintiffs cannot

  circumvent the IDEA’s exhaustion requirement by suing for a FAPE deprivation under a

  different federal statute.” Durbrow v. Cobb Cty. Sch. Dist., 887 F.3d 1182, 1191 (11th Cir.

  2018). To determine if a claim seeks relief for the denial of a FAPE courts look to the “[t]he

  crux—or, in legal-speak, the gravamen—of the plaintiff's complaint, setting aside any attempts at

  artful pleading.” Fry, 137 S. Ct. at 754. The Supreme Court identified two questions to guide the

  inquiry into whether a complaint concerns the denial of a FAPE: (1) could the plaintiff have

  brought the same claim if the alleged conduct had occurred at a public facility that was not a

  school (e.g. a theater); and (2) could an adult at the school have brought the same grievance?

  Fry, 137 S. Ct. at 756. If the answer to both of these questions is no, then the complaint likely


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  seeks relief for a FAPE. Id. If the answer is yes, then the complaint likely seeks relief

  independent from denial of a FAPE. Id.

         Plaintiff argues that Defendant’s counterclaims for violations of § 1983, the ADA and §

  504 are subject to exhaustion because they merely recast Defendant’s claim for a denial of a

  FAPE based on Plaintiff’s reduction of language therapy services at the IEP and failure to

  involve C.B. in the IEP’s implementation. D.E. 17 at 13-15. Thus, Plaintiff argues that these

  claims could only be brought by a student covered by the IDEA. D.E. 26. Consequently, Plaintiff

  argues that because Defendant failed to raise these claims at that due process hearing, she failed

  to exhaust the administrative remedies available for those claims and they must be dismissed.

  D.E. 17 at 13-14; Durbrow, 887 F.3d at 1191 (explaining that “[s]ince the [plaintiffs’] § 504 and

  ADA claims neither received an administrative hearing nor a decision from the administrative

  officer, they were not exhausted.”); J.P. v. Cherokee Cty. Bd. of Educ., 218 F. App'x 911, 913

  (11th Cir. 2007) (“[A] parent's failure to exhaust administrative remedies by requesting and

  participating in a due-process hearing will result in dismissal of the civil action.”).

         Although Defendant states that she exhausted her administrative remedies, the substance

  of her argument is that her counterclaims are not subject to exhaustion because: (1) the record

  clearly shows that reducing J.A.B.’s language therapy services at the IEP without input by C.B.

  constitutes evidence of deliberate and intentional discrimination against J.A.B. that goes beyond

  a violation of a FAPE; and (2) she is seeking additional damages and other relief not available

  under the IDEA; and (3) exhaustion would be futile. D.E. 22 at 16-17; Durbrow v. Cobb Cty.

  Sch. Dist., No. 1:14-CV-00659-ELR, 2016 WL 10520953, at *2 (N.D. Ga. Mar. 14, 2016), aff'd,

  887 F.3d 1182 (11th Cir. 2018) (“The exhaustion of the administrative remedies is not required

  where resort to administrative remedies would be 1) futile or 2) inadequate.”) (citation omitted).


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  To be sure, not all ADA, § 1983, and Section 504 claims are subject to administrative exhaustion

  under the IDEA. Fry, 137 S. Ct. at 754; Alboniga v. Sch. Bd. of Broward Cty. Fla., 87 F. Supp.

  3d 1319, 1328–29 (S.D. Fla. 2015) (“Where a plaintiff's claims are not based on or potentially

  remedied by the IDEA, the IDEA's administrative exhaustion requirements do not apply.”)

  (citation omitted) (emphasis added). However, despite Defendant’s insistence, the very text of

  the counterclaims makes clear that the gravamen of Defendant’s § 1983, ADA, and Section 504

  counterclaims is that Plaintiff deprived Defendant of a FAPE. See, e.g., D.E. 6 ¶ 62 (“Excluding

  the child’s parent from the IEP process and the development of the IEP caused substantive harm

  to the student and was also a denial of FAPE in violation of title II of the ADA.”) (emphasis

  added). 10 Defendant could not have brought this same claim if the conduct occurred at another

  public facility because IEP’s are only developed at schools. Similarly, an adult could not bring

  this same claim because it alleges discrimination based on reduction in language therapy services

  in an IEP for a disabled child. Thus her counterclaims for violations of § 1983, the ADA, and

  Section 504 are subject to exhaustion. This does not mean that Defendant did not have a cause of

  action for those claims, merely that Defendant was obligated to raise those claims before the ALJ

  at the due process hearing. Babicz v. Sch. Bd. of Broward Cty., 135 F.3d 1420, 1422 (11th Cir.

  1998); (“[C]laims asserted under Section 504 and/or the ADA are subject to [the] requirement

  that litigants exhaust the IDEA's administrative procedures to obtain relief that is available under

  the IDEA before bringing suit under Section 504 and/or the ADA.”); K.A. ex rel. F.A. v. Fulton

  Cty. Sch. Dist., 741 F.3d 1195, 1210 (11th Cir. 2013) (“[s]ection 1983 actions for denial of rights

  conferred by the IDEA are barred because the IDEA's comprehensive enforcement scheme


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     In Defendant’s response it argues that its § 1983 claim goes beyond the denial of rights conferred by the IDEA
  and alleges deliberate indifference and intentional discrimination. D.E. 22 at 17. However, the counterclaim contains
  no mention of intentional discrimination and merely states that Plaintiff’s failures to provide an IEP with input of the
  parent and hold meetings at mutually convenient times violated § 1983. D.E. 6 at 14 ¶ 50.
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  provides the sole remedy for statutory violations.”). Defendant did not raise the § 1983, ADA, or

  Section 504 claims at the due process hearing in her request for a due process hearing, D.E. 19-1,

  and Defendant did not amended her due process complaint to reflect these claims. D.E. 1-2 at 8.

  Defendant therefore failed to exhaust her administrative remedies as required by the IDEA and

  these counterclaims must be dismissed.

         Defendant argues that she did not need to exhaust her administrative remedies because

  she is seeking additional damages and other relief not available under the IDEA, namely

  damages and declaratory judgment. D.E. 22 at 15. Defendant also argues that exhaustion would

  be futile as the ALJ in an administrative hearing does not have jurisdiction to decide ADA or §

  1983 claims, and although ALJs have some authority to resolve Section 504 claims, it would be

  futile to litigate the same set of facts with regard to its Section 504 claim. D.E. 22 at 15. These

  arguments are unavailing. The fact that bringing the Section 504 claim before the ALJ would

  involve “re-litigating” the same facts does not absolve Defendant of her obligation to bring that

  claim before the ALJ in the first instance; if the Defendant seeks relief for the denial of a FAPE,

  Defendant must first exhaust her administrative remedies as to that claim before coming to this

  Court. Fry, 137 S. Ct. at 754. The only reason Defendant would have to “relitigate” the facts of

  her Section 504 claim is because she failed to raise it at the due process hearing. As to the ALJ’s

  jurisdiction, the Eleventh Circuit has found that “[t]he IDEA's broad complaint provision affords

  the ‘opportunity to present complaints with respect to any matter relating to the identification,

  evaluation, or educational placement of the child, or the provision of a [FAPE] to such child.’”

  M.T.V., 446 F.3d at 1158 (quoting 20 U.S.C. § 1415(b)(6)) (emphasis in original). Defendant’s

  additional argument that she did not need to exhaust administrative remedies because she is

  seeking relief not available under the IDEA is similarly unavailing. Plaintiff may not bypass the


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  IDEA’s administrative procedures merely by seeking damages not statutorily available under the

  IDEA. N.B. by D.G. v. Alachua Cty. Sch. Bd., 84 F.3d 1376, 1379 (11th Cir. 1996) (finding that

  plaintiff failed to exhaust administrative remedies under the IDEA for its § 1983 claim based on

  denial of a FAPE and that parties cannot “avoid the exhaustion requirement simply by asking for

  relief that administrative authorities could not grant.”).

            In short, Defendant’s counterclaims for violations of the ADA, Section 504, and § 1983

  seek relief for the denial of a FAPE and therefore under the IDEA, Defendant was required to

  first raise those claims at the due process hearing. Fry, 137 S. Ct. at 754. Because she did not

  raise those claims at the due process hearing she cannot now pursue a civil action for those

  claims and the Court may not consider them. Accordingly, the Court must dismiss Defendant’s

  Third, Fourth, and Fifth Affirmative Defenses without prejudice. 11 See, e.g., W.L.G. v. Houston

  Cty. Bd. of Educ., 975 F. Supp. 1317, 1328 (M.D. Ala. 1997) (dismissing § 1983 and

  Rehabilitation Act claims in IDEA case where plaintiff failed to exhaust administrative

  remedies).

       V.      Conclusion

       In sum, ALJ Jessica E. Varn erred in finding she had authority to award attorneys’ fees in

  her September 7, 2017 Order on Attorney’s Fees and Defendant’s Affirmative Defenses do not

  preclude judgment in Plaintiff’s favor on this claim. Judgment is also entered in favor of Plaintiff

  on each of Defendant’s counterclaims. Accordingly, it is

       ORDERED AND ADJUDGED that Plaintiff’s Motion for Judgment on the Record and for

  Summary Judgment, D.E. 17, is GRANTED. The Court will separately enter judgment pursuant




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     Because the Court finds that Plaintiff has failed to exhaust her administrative remedies, it does not address
  Plaintiff’s remaining arguments as to the counterclaims.
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  to Rule 56. Administrative Law Judge Jessica E. Varn’s Order on Attorneys’ Fees, D.E. 1-2, is

  HEREBY VACATED. It is further

       ORDERED AND ADJUDGED that Counts Three, Four, and Five of Defendant’s

  Counterclaim are DISMISSED WITHOUT PREJUDICE. 12

           DONE AND ORDERED in Chambers at Miami, Florida, this _9th_ day of July, 2018.


                                                                  ______________________________
                                                                  URSULA UNGARO
                                                                  UNITED STATES DISTRICT JUDGE
  copies provided: counsel of record




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     20 U.S.C. § 1415(i)(3)(B) provides that district courts may award fees to parents who are prevailing parties at due
  process hearings. Id.; Robert K. v. Cobb Cty. Sch. Dist., No. 1:05-CV-2456-JTC, 2007 WL 9701267, at *2 (N.D.
  Ga. Aug. 8, 2007), aff'd sub nom. Robert v. Cobb Cty. Sch. Dist., 279 F. App'x 798 (11th Cir. 2008) (“To succeed
  on a claim for attorney's fees pursuant to § 1415(i)(3)(B), the child's parents must show that they initiated an action
  or proceeding under the IDEA and that they were the “prevailing party” in the proceeding.”). Although the Court is
  granting Plaintiff’s Motion for Judgment on the Record as to the ALJ’s Order on Attorneys’ Fees, the Court has not
  opined on the ALJ’s Final Amended Order, which found that she was the prevailing party. D.E. 1-1. Thus,
  Defendant is entitled to file an action requesting that a district court uphold the ALJ’s determination that she was the
  prevailing party at the due process hearing and requesting attorney’s fees under the IDEA. 20 U.S.C. §
  1415(i)(3)(B); “[T]here is no explicit statute of limitations for this action for attorneys' fees following an IDEA
  administrative hearing….” Wilson v. Gov't of D.C., 269 F.R.D. 8, 16 (D.D.C. 2010). The Eleventh Circuit has
  adopted a four-year statute of limitations for motions for attorneys’ fees under 20 U.S.C. §1415(i)(3)(B); Zipperer,
  111 F.3d 847, 852 (We conclude that the application of a four-year statute of limitations to claims for attorneys' fees
  under the IDEA is consistent with the policies of the federal statute.) Thus Defendant may file her action for
  attorneys’ within four years from April 18, 2017, the date of the ALJ’s Amended Final Order. D.E. 1-1.


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